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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

                                   )
KENNETH SPRINGS, et al.,           )
                                   )
                       Plaintiffs, )
                                   )
               v.                  )                  Civil Action No. 20-3244 (RDM)
                                   )
KENNETH J. BRAITHWAITE, Secretary )
of the U.S. Navy, et al.,          )
                                   )
                       Defendants. )
                                   )

               DEFENDANTS’ CONSENT MOTION FOR AN EXTENSION
                OF TIME TO RESPOND TO PLAINTIFFS’ COMPLAINT

       Defendants, Secretary of the U.S. Navy Kenneth J. Braithewaite and the United States, by

and through undersigned counsel, respectfully moves for a 21-day extension of time to respond

to Plaintiffs’ complaint, from January 19, 2021 to February 9, 2021. This is Defendants’ first

request for an extension of time in this action. In accordance with Local Civil Rule 7(m), the

parties have conferred and Plaintiffs consented to the requested relief.

       There is good cause for granting this motion. Plaintiffs filed this action on November 10,

2020, seeking declaratory and injunctive relief on behalf of themselves and a putative class

against Defendants under the Administrative Procedure Act (“APA”). See Compl. (ECF No. 1).

Specifically, Plaintiffs’ lawsuit challenges, among other things, the Navy’s policy to “exclude,

when calculating [a] sailor or Marine’s combined disability rating, the individual disability

rating(s) assigned by the Department of Veterans Affairs (VA) using the VA Schedule for Rating

Disabilities to medical condition[s] that were expressly found by the Navy to contribute to the

unfitting condition[s]” of service members. Id. ¶ 3. Agency counsel for the Navy has started to

prepare Defendants’ answer to Plaintiffs’ complaint. However, agency counsel requires
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additional time to finalize the Navy’s responses to the allegations in Plaintiffs’ complaint.

Receipt of information required for counsel to develop the Navy’s responses from the Physical

Evaluation Board (“PEB”), among other offices, has been delayed due to the intervening

holidays and leave schedules of agency employees. In addition, undersigned counsel for

Defendants is currently handling emerging legal matters as part of the upcoming Presidential

Inauguration, which has limited the amount of time available for him to spend on his other

docket of active cases. Additionally, undersigned counsel is faced with numerous other

deadlines prior to the newly requested deadline, including several dispositive motions, discovery

deadlines, and other filings. Because of these demands, additional time would be helpful for

undersigned counsel to prepare Defendants’ answer.

       In light of the above, Defendants respectfully request that the Court grant this motion and

extend the deadline to respond to Plaintiffs’ complaint to February 9, 2021.

A proposed order is attached.


Dated: January 15, 2021               Respectfully submitted,

                                      MICHAEL R. SHERWIN
                                      Acting United States Attorney

                                      BRIAN P. HUDAK
                                      Acting Chief, Civil Division

                                 By: /s/ Christopher C. Hair
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                                      Counsel for Defendants
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KENNETH J. BRAITHWAITE, Secretary )
of the U.S. Navy, et al.,          )
                                   )
                       Defendants. )
                                   )

                                    [PROPOSED] ORDER

       Upon consideration of Defendants’ motion for an extension of time, is it hereby

ORDERED that Defendants’ motion is GRANTED. Is it further ORDERED that Defendants’

response to Plaintiffs’ complaint is due by February 9, 2021.

SO ORDERED.



___________________                                 ________________________
Date                                                Hon. Randolph D. Moss
                                                    Chief United States District Judge
